Case 2:08-cr-00082-WFN   ECF No. 61   filed 12/09/08   PageID.315 Page 1 of 6
Case 2:08-cr-00082-WFN   ECF No. 61   filed 12/09/08   PageID.316 Page 2 of 6
Case 2:08-cr-00082-WFN   ECF No. 61   filed 12/09/08   PageID.317 Page 3 of 6
Case 2:08-cr-00082-WFN   ECF No. 61   filed 12/09/08   PageID.318 Page 4 of 6
Case 2:08-cr-00082-WFN   ECF No. 61   filed 12/09/08   PageID.319 Page 5 of 6
Case 2:08-cr-00082-WFN   ECF No. 61   filed 12/09/08   PageID.320 Page 6 of 6
